Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
03/12/2021 01:09 AM CST




                                                        - 478 -
                               Nebraska Supreme Court Advance Sheets
                                        308 Nebraska Reports
                                   STATE EX REL. COUNSEL FOR DIS. v. BRUNO
                                              Cite as 308 Neb. 478



                       State of Nebraska ex rel. Counsel for Discipline
                          of the Nebraska Supreme Court, relator,
                                v. Jason M. Bruno, respondent.
                                                    ___ N.W.2d ___

                                        Filed February 19, 2021.   No. S-20-814.

                    Original action. Judgment of suspension.

                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.

                    Per Curiam.
                                     INTRODUCTION
                  The State Bar of Arizona entered a “Decision Order” regard-
               ing the respondent, Jason M. Bruno, on October 9, 2020.
               The Counsel for Discipline of the Nebraska Supreme Court,
               the relator, filed a motion for reciprocal discipline against
               the respondent. We grant the motion for reciprocal discipline
               and impose a suspension of 6 months.

                                          FACTS
                  The respondent was admitted to the practice of law in
               the State of Arizona in 2004 and in the State of Nebraska
               on February 28, 2005. He has been an active member of the
               Nebraska State Bar Association and the State Bar of Arizona.
                  On October 9, 2020, the State Bar of Arizona’s presid-
               ing disciplinary judge issued a final judgment and order in
               which it found that the respondent violated the Arizona Rules
               of Professional Conduct. The respondent was found to have
                             - 479 -
         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. BRUNO
                       Cite as 308 Neb. 478
violated “Arizona Rules of Professional Conduct ER 3.3(a)(3),
ER 3.4(a) and (d), and ER 8.4 (c) and (d).” The charges
arose from a discovery matter. The underlying facts generally
involved the respondent’s failure to disclose material.
   The order suspended the respondent from the practice of
law for a period of 6 months, followed by 2 years of probation
upon reinstatement, additional CLE, and a “MAP assessment”
with possible terms and conditions, plus costs and expenses.
   On November 19, 2020, the relator filed a motion for recip-
rocal discipline pursuant to Neb. Ct. R. § 3-321 of the disci-
plinary rules. The motion stated that the above-cited Arizona
Supreme Court rules are in sum and substance the equivalent
to Neb. Ct. R. of Prof. Cond. §§ 3-503.3(a)(3) (rev. 2016)
(candor toward tribunal), 3-503.4(a) and (d) (fairness to oppos-
ing party and counsel), and 3-508.4(c) and (d) (rev. 2016)
(misconduct).
   This court filed an order to show cause as to why it should
not impose reciprocal discipline. On December 14, 2020, the
respondent filed a response in which he requested oral argu-
ment and claimed, summarized and restated, that (1) he was
not afforded due process in the disciplinary proceedings in
Arizona and (2) the evidence does not support discipline.
On January 6, 2021, the relator filed a response, arguing that
the respondent has not overcome the presumption of regular-
ity of the Arizona proceedings, and requested that this court
impose a like discipline as that imposed by the Arizona
Supreme Court.

                          ANALYSIS
   The basic issues in a disciplinary proceeding against an
attorney are whether discipline should be imposed and, if so,
the type of discipline appropriate under the circumstances.
State ex rel. Counsel for Dis. v. Murphy, 283 Neb. 982,
814 N.W.2d 107 (2012). In a reciprocal discipline proceed-
ing, a judicial determination of attorney misconduct in one
jurisdiction is generally conclusive proof of guilt and is not
                              - 480 -
          Nebraska Supreme Court Advance Sheets
                   308 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. BRUNO
                       Cite as 308 Neb. 478
subject to relitigation in the second jurisdiction. Id. Neb. Ct.
R. § 3-304 of the disciplinary rules provides that the following
may be considered as discipline for attorney misconduct:
         (A) Misconduct shall be grounds for:
         (1) Disbarment by the Court; or
         (2) Suspension by the Court; or
         (3) Probation by the Court in lieu of or subsequent to
      suspension, on such terms as the Court may designate; or
         (4) Censure and reprimand by the Court; or
         (5) Temporary suspension by the Court; or
         (6) Private reprimand by the Committee on Inquiry or
      Disciplinary Review Board.
         (B) The Court may, in its discretion, impose one or
      more of the disciplinary sanctions set forth above.
Section 3-321 of the disciplinary rules provides in part:
         (A) Upon being disciplined in another jurisdiction, a
      member shall promptly inform the Counsel for Discipline
      of the discipline imposed. Upon receipt by the Court of
      appropriate notice that a member has been disciplined in
      another jurisdiction, the Court may enter an order impos-
      ing the identical discipline, or greater or lesser discipline
      as the Court deems appropriate, or, in its discretion, sus-
      pend the member pending the imposition of final disci-
      pline in such other jurisdiction.
In imposing attorney discipline, we evaluate each case in light
of its particular facts and circumstances. State ex rel. Counsel
for Dis. v. Murphy, supra.
   Upon due consideration of the record, and the facts as deter-
mined by the State Bar of Arizona, we determine that suspen-
sion is appropriate. The respondent has not demonstrated a lack
of due process of law or an infirmity of proof. The respondent
made a robust defense in Arizona. The Arizona Supreme Court
determined that the respondent concealed the existence of
evidence which had not been disclosed to the defense. The
court found that this was intentional and misleading to the
                             - 481 -
         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. BRUNO
                       Cite as 308 Neb. 478
opposing counsel and that it caused the respondent’s opposing
party to change its strategy.
  We grant the motion for reciprocal discipline and impose a
suspension of 6 months.

                        CONCLUSION
   We conclude that cause has not been shown by the respond­
ent. The respondent’s request for oral argument is denied. The
motion for reciprocal discipline is granted. The respondent is
suspended from the practice of law for 6 months. The respond­
ent shall comply with all notification requirements by sus-
pended members provided by Neb. Ct. R. § 3-316 (rev. 2014),
and upon failure to do so, he shall be subject to punishment for
contempt of this court. The respondent is directed to pay costs
and expenses in accordance with Neb. Rev. Stat. §§ 7-114 and
7-115 (Reissue 2012) and Neb. Ct. R. §§ 3-310(P) (rev. 2019)
and 3-323(B) of the disciplinary rules within 60 days after
an order imposing costs and expenses, if any, is entered by
the court.
                                     Judgment of suspension.
